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 1                                                              THE HONORABLE ROBERT J. BRYAN

 2
 3
 4
 5
 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA

 9
10             STATE OF WASHINGTON,                        Case No.: 3:17-cv-05806-RJB
11                                       Plaintiff,
                                                           DECLARATION OF JULIE WILLIAMS
12             v.                                          DOJ STATEMENT OF INTEREST -
                                                           INTERGOVERNMENTAL IMMUNITY
13
               THE GEO GROUP, INC.,
14
                                         Defendant.
15
16
17           I, Julie Williams, make the following statement under oath subject to the penalty of perjury
18
     pursuant to the laws of the United States and the State of Washington:
19
     1.      I am over the age of eighteen (18) and competent to testify in this matter. My statements
20
21   are based upon my education, training, and experience.       I have personal knowledge of Pierce
22
     County Jail operations because I was the Pierce County Sheriff’s Department (“PCSD”) Contract
23
     Services Manager for 20 years. I have since retired, and the position I held at the time of my
24
25   retirement was Chief of Staff, and I reported directly to the Sheriff.      In my position, I was
26   responsible for contracting with the private corporations that provided professional and personal
27
     services inside the jail like Aramark Correctional Services, LLC and Consolidated Food
28
29   Management, Inc.
                                                                                    III BRANCHES LAW, PLLC
      DECLARATION OF JULIE WILLIAMS DOJ                                                     Joan K. Mell
30    STATEMENT OF INTEREST - INTERGOVERNMENTAL                                      1019 Regents Blvd. Ste. 204
      IMMUNITY                                                                           Fircrest, WA 98466
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 1   2.       The Pierce County Sheriff’s Department Corrections Bureau is a direct and indirect
 2
     supervision jail located at 910 Tacoma Ave. S., Tacoma, WA 98402. The Pierce County Jail has an
 3
     operational capacity for 1700 inmates and currently employs approximately 300 correctional staff.
 4
 5   The Pierce County Jail is made of two facilities “New Jail” and “Main Jail”. The New Jail was built
 6
     in 2003 and the Main Jail was built in 1985.
 7
     3.       Individuals who are detained in the jail include individuals who have not been convicted of
 8
 9   any crime. These detainees and inmates who have been convicted may volunteer to participate in
10   the Inmate Worker Program.
11
     4.       Inmate Worker Program activities include food preparation, laundry, and janitorial services.
12
13   5.       Detainees and inmates who choose to participate do not get paid wages nor monetary

14   compensation. The jail offers incentives that encourage participation in the program like extra food,
15
     recreational time, or similar activities.
16
17   6.       The Inmate Worker Program decreases idle time, which improves the safety and security of

18   the facility.
19
     7.       Pierce County contracts with private corporations that assist in the operational needs of the
20
21   jail so that Pierce County can most efficiently and effectively meet its obligations to care for the

22   health, safety, and welfare of its detainees and inmates within its budget limitations.
23
     8.       By way of specific example, Consolidated Food Management (“CFM”) contracts with
24
25   Pierce County to manage the food service program inside the Pierce County Jail. Pierce County

26   used to use Aramark Correctional Services, LLC, which now handles the commissary while CFM
27
     handles the kitchen.
28
29
                                                                                        III BRANCHES LAW, PLLC
      DECLARATION OF JULIE WILLIAMS DOJ                                                         Joan K. Mell
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 1   9.      As part of food service management, CFM, a private corporation, operates the kitchen
 2
     using detainee and inmate labor. CFM employees manage adequate staffing levels and provide
 3
     “proper inmate supervision” in the kitchen in the jail. Correctional officers provide security, but do
 4
 5   not run the kitchen or food service. CFM handles all meal preparation and clean up, using detainees
 6
     and inmates to perform the work that CFM oversees. CFM instructs detainees and inmates what to
 7
     do, when to do it, and how to do it so that meals are timely and properly prepared, and the kitchen is
 8
 9   adequately maintained. CFM may terminate any detainee from the program if the detainee or
10   inmate disregards instructions or is otherwise unproductive.
11
     10.     The CFM contract contains a provision obligating the contractor, CFM, to “comply with all
12
13   Federal, State, and local laws.” See page 9 of Contract No. 92068-000. The Minimum Wage Act is

14   not a law that Pierce County applied to detainees. Detainees and inmates were not paid under the
15
     Minimum Wage Act.
16
17   11.     The State has never enforced the Minimum Wage Act as to detainee or inmate participants

18   in the Inmate Worker Program.
19
     12.      Pierce County could not meet its budget obligations if Pierce County were required to pay
20
21   detainees and inmates minimum wages for their work in the jail. If detainees were owed minimum

22   wages, the financial implications would substantially impair the limited resources available to
23
     Pierce County to run the jail, compromising other programs and service delivery that are needed to
24
25   ensure public safety and the health, welfare, and safety of Pierce County’s employees, detainees,

26   and inmates.
27
     13.     Attached are true and correct copies of the following documents:
28
29           a.     Photographs depicting the Inmate Work Program at the Pierce County Jail.
                                                                                      III BRANCHES LAW, PLLC
      DECLARATION OF JULIE WILLIAMS DOJ                                                       Joan K. Mell
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 1
 2
                                       CERTIFICATE OF SERVICE
 3
            I, Joseph Fonseca, hereby certify as follows:
 4
 5          I am over the age of 18, a resident of Pierce County, and not a party to the above action. On
 6
     September 13th, 2019, I electronically filed the above Declaration of Julie Williams, with the Clerk
 7
     of the Court using the CM/ECF system to the following:
 8
 9   Office of the Attorney General
     Marsha Chien, WSBA No. 47020
10
     Andrea Brenneke, WSBA No. 22027
11   Lane Polozola
     800 Fifth Avenue, Suite 2000
12
     Seattle, WA 98104
13   MarshaC@atg.wa.gov
     andreab@atg.wa.gov
14
     lane.Polozola@atg.wa.gov
15
16          I certify under penalty of perjury under the laws of the State of Washington that the above
     information is true and correct.
17
18          DATED this 13th day of September, 2019 at Fircrest, Washington.

19          _____________________________
20          Joseph Fonseca, Paralegal

21
22
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29
                                                                                     III BRANCHES LAW, PLLC
      DECLARATION OF JULIE WILLIAMS DOJ                                                      Joan K. Mell
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  NWDC - Minimum Wage Work?




PC JAIL - Not Minimum Wage Work




                                                      GEO-WA PC Photo 000001
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  NWDC - Minimum Wage Work?




PC JAIL - Not Minimum Wage Work




                                                          GEO-WA PC Photo 000003
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  NWDC - Minimum Wage Work?




PC JAIL - Not Minimum Wage Work




                                                      GEO-WA PC Photo 000004
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Jail trustee: A good gig but a job
nobody wants to hold for long
BY ALEXIS KRELL - STAFF WRITER
NOVEMBER 12, 2014 09:57 PM, UPDATED NOVEMBER 13, 2014 08:17 AM



Harold Laursen liked working at the Pierce County Jail well
enough six years ago that he took another job there in July.
Still, the 42-year-old Tacoma man hopes the laundry-room gig
is his last there.
Laursen, serving time for drug possession charges, is one of
about 120 inmates who help keep the jail running as part of a
voluntary work program that comes with greater freedom and
privileges.
He was incarcerated on separate charges in 2008 when he
first started working in what jail officials call the Trustee
Program.
“This time I came back, I figured, why not?” Laursen said
Wednesday.
Trustee inmates are among the best behaved at the jail, and
when away from their bunks aren’t supervised as closely as
others. Sometimes one corrections officers oversees 8
trustees at once.
Some are pending trial, others are serving short sentences.
They work throughout the jail instead of being confined to
their living area all day.
Despite that freedom, it wasn’t until Saturday that someone
escaped from the program, which administrative Lt. Patti
Jackson, who oversees it, said has been around for years.
The jail has always used inmate labor in some fashion, and
she said about 10 years ago the program was given its
workplace structure.
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“The motivation to stay is much higher than the motivation to
leave,” Jackson said.
If they escape, they face stricter confinement when
incarcerated again, she said.
Richard Robinson, 31, was the first to flee, when he was
working in the kitchen area, hopped a fence and left, sheriff’s
spokesman Ed Troyer said. He has not yet been found.
Robinson was at the jail awaiting trial on charges in
connection to a June burglary in Tacoma. Now he’s also
charged with second-degree escape.
Inmates who are not trustees wouldn’t have been allowed in
the area where Robinson escaped, Troyer said. Should he
wind up back at the jail, the Trustee Program won’t be an
option.
Workers must have a history of good behavior while
incarcerated, and their crimes or alleged crimes can’t be
especially violent.
The Sheriff’s Department says trustees save the jail from
having to pay for minimum wage labor.
Some help prepare the three daily meals for roughly 1,200
inmates, and others keep living areas clean. Those with the
most privileges help pick up trash around the county, among
other jobs.
“Using inmate workers in the jail accomplishes two things: It
puts inmates to work on things which need to be done, and it
saves the taxpayers over a million dollars every year,” Sheriff
Paul Pastor said in a statement.
There’s no pay for what typically are eight-hour work days, but
the inmates who participate get some perks. If a judge allows,
they may be able to work off court fees in the program, for
instance.
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There’s also a coffee pot and a cold-water dispenser in their
living area, and trustees get new change of clothes daily,
compared to other offenders who get a new set twice a week.
Fridays they earn a bag of chips and soda for their work.
“Pay day,” the inmates joke.
When the group does well, everyone’s name is put into a
drawing for goody bags containing soup, candy and other
treats.
Ryan Morgan, 30 of Sumner, won recently.
“It was delicious,” he said.
Morgan is a morning baker, responsible for making cakes,
dinner rolls and other food.
“I’ve been coming in and out of here since I was 19,” he said
about the jail.
After he returned in August, pending trial for robbery and gun
possession charges, he joined the trustee program for the first
time.
“I decided to do something different,” he said. “It’s definitely
helped me change my perspective and my views, and what
I’m going to do when I get out. It gives you a structure.”
He’d like to work on a fishing boat when released, but said
he’d consider a job as a baker if that doesn’t happen.
Lilran Goe, 30 of Tacoma, works in the kitchen, cutting up
vegetables and slicing the cakes Morgan bakes.
“It’s time out of your cell, and a good deed,” he said.
He’s halfway through a 26-day stay in the jail for missing a
court date. He hopes to resume working as a janitor after he’s
released.
“It makes your day go by faster,” he said about the program.
While there’s less oversight of the trustees than other
inmates, precautions are still taken, Jackson said. Cakes are
cut with dough cutters, instead of knifes. And the tools are
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tethered to the tables. Inmates are still checked into and out
of their living area.
Laursen, who plans to return to mechanic work, has a little
more than a week left at the jail, where he’s been since July
25. He’ll get out in time to celebrate Thanksgiving with his
family and soon will get to see his new baby.
His time in the trustee program has been positive, he said,
and he thinks the jobs have given him skills to use in other
work scenarios.
Both he and jail staffers hope he never has reason to reapply
for the trustee program.
“I’m not shooting for three times,” he said.
Read more here: https://www.thenewstribune.com/news/local/crime/
article25893445.html#storylink=cpy
